
PER CURIAM.
Both parties have agreed that the decision and judgment of this court dated December 1, 1977 in the consolidated appeals of Yale University v. Department of Commerce, Domestic and International Business Administration, Office of Import Programs, No. 76-18, and Brown University v. Department of Commerce, Domestic and International Business Administration, Office of Import Programs, No. 76-30, Cust. &amp; Pat. App., 579 F.2d 626, governs the issues in this appeal, and requires reversal of the denial by appellee of appellant’s Request for Duty-Free Entry of the electron microscope, Philips Electronics, Model EM 201C.
Accordingly, the decision of the Department of Commerce is reversed.
